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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF RHODE ISLAND


 LOIS LANE, a pseudonym,                       :
       Plaintiff,                              :
                                               :
 v.                                            :              C.A. No. 1:22-cv-00092-WES-LDA
                                               :
 BROWN UNIVERSITY and                          :
 JANE ROE, a pseudonym,                        :
      Defendants.                              :


                  NOTICE OF DISMISSAL AS TO BROWN UNIVERSITY

        Plaintiff, Lois Lane, a pseudonym, hereby dismisses Defendant, Brown University, from

 this action pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

                                                       LOIS LANE,
                                                       Plaintiff,
                                                       By their Attorneys,


                                                       /s/ Stephen J. Brouillard
                                                       Stephen J. Brouillard, Esq. (6284)
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                                  CERTIFICATE OF SERVICE

        I certify that, on April 20, 2022, this document was filed and served on all counsel of

 record electronically via the Court’s CM/ECF system.

                                                       /s/ Stephen J. Brouillard




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